
PER CURIAM.
By petition for a writ of certiorari we have for review an order of the Florida Industrial Commission bearing date March 14, 1969.
We find that oral argument would serve no useful purpose and it is, therefore, dispensed with pursuant to Florida Appellate Rule 3.10, subd. e, 32 F.S.A.
Our consideration of the petition, the record and briefs leads us to conclude that *546there has been no deviation from the essential requirements of law.
The petition is, therefore, ,denied.
Respondent’s petition for attorney’s fees is granted in the sum of $250.00.
ERVIN, C. J., and ROBERTS, CARLTON, ADKINS and BOYD, JJ., concur.
